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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

TYRONE CADE,                            §
                  Petitioner,           §
                                        §
v.                                      § Civil Action No. 3:17-CV-03396-G
                                        §
BOBBY LUMPKIN, Director,                §       DEATH PENALTY CASE
Texas Department of Criminal            §
Justice, Correctional Institutions      §
Division,                               §
                  Respondent.           §

               RESPONDENT’S SECOND MOTION
        FOR EXTENSION OF TIME WITH BRIEF IN SUPPORT

      This is a federal habeas corpus proceeding initiated by Petitioner Tyrone

Cade, a death-sentenced Texas inmate, pursuant to 28 U.S.C. § 2254. On April

12, 2021, the Court ordered Cade to file a second amended petition within 90

days of its order; on June 28, 2021, the Court granted Cade his motion for

extension of time to file his second amended petition by August 10, 2021. ECF

Nos. 122, 124. Cade filed his second amended petition on August 10, 2021. ECF

No. 127. On November 5, 2021, the Court granted Respondent Bobby

Lumpkin’s (“the Director”) extension of time to file his response within sixty-

days, up to and including January 7, 2022. ECF No. 129. For the reasons

discussed below, the Director requests a sixty-day extension of time, to

March 8, 2022, to file a responsive brief.
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      This is a capital federal habeas corpus proceeding with a voluminous

record and complex legal issues that will necessitate extensive review and

writing. The undersigned attorney was not involved in the prior proceedings

in this Court. Therefore, the undersigned attorney requires additional time to

carefully review the voluminous record—including 51 volumes of courtroom

proceedings and the record from three state habeas proceedings—and to

prepare an appropriate responsive pleading. Also, the undersigned attorney is

currently assisting her colleague by answering 27 jury issues raised on direct

appeal in Lewis v. State, No. AP-77,086, due before the Texas Court of Criminal

Appeals on December 22, 2021, a deadline that has been extended once. To

answer those issues, the undersigned reviewed 50 volumes of the record and

drafted 65 pages of substantive briefing.

      This is the Director’s second request for an extension of time to respond

to Cade’s second amended petition. This request is not designed to harass

Cade, nor to unnecessarily delay these proceedings, but to ensure that Cade’s

second amended petition is properly addressed. Accordingly, the Director

respectfully requests a sixty-day extension to file his response to Cade’s second

amended petition and supporting memorandum.




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                                   Respectfully submitted,


                                   KEN PAXTON
                                   Attorney General of Texas

                                   BRENT WEBSTER
                                   First Assistant Attorney General

                                   JOSH RENO
                                   Deputy Attorney General
                                   For Criminal Justice

                                   EDWARD L. MARSHALL
                                   Chief, Criminal Appeals Division

                                   s/ Cara Hanna
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                                   ATTORNEYS FOR RESPONDENT




                   CERTIFICATE OF CONFERENCE

      On December 13, 2021, Counsel for Cade has indicated that he is not

opposed to this motion.
                                   s/ Cara Hanna
                                   CARA HANNA
                                   Assistant Attorney General

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                       CERTIFICATE OF SERVICE

      I do herby certify that on December 28, 2021, I electronically filed the

foregoing document with the Clerk of the Court for the U.S. District Court,

Northern District of Texas, using the electronic case-filing system of the Court.

The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to

the following counsel of record, who consented in writing to accept the NEF as

service of this document by electronic means:

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